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                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                         STATESBORO DIVISION
SHEIKEL JAMISON,

       Movant,

I,,                                          Case No.     CV611-006
                                                          CR60 6-0 26
UNITED STATES OF AMERICA,

       Respondent.


                  REPORT AND RECOMMENDATION

       Sheikel Jamison, who stands convicted by a federal jury of

conspiracy to possess with intent to distribute 50 grams or more of crack

cocaine and 5 kilograms or more of powder cocaine, moves for 28 U.S.C. §

2255 relief. (Doc. 1. 1) He raises two ineffective assistance of counsel

claims against his, attorney, Steven Brill, (Id.; doc. 2 at 1-2,) In

addressing Jamison's claims, the Court is guided by Strickland v.

Washington, 466 U.S. 668, 687 (1984). Jamison first must demonstrate

that his attorney's performance was deficient, which means showing that

       1Unless otherwise noted, citations are to the docket in Johnson's civil case,
CV411-006. "Cr. doe." refers to documents filed under his criminal case, CR606-026.
Additionally, page references are to the Court's CM/ECF screen page rather than the
referenced document's own internal pagination.
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his "counsel made errors so serious that counsel was not functioning as

the 'counsel' guaranteed by the Sixth Amendment." Id. at 687. Second,

he must demonstrate that the defective performance prejudiced the

defense to such a degree that the results of the trial or guilty plea

proceeding cannot be trusted. Id.

     Under the performance prong, the reasonableness of an attorneys

performance is to be evaluated from counsel's perspective at the time of

the alleged error and in light of all the circumstances. Id. at 690. The

movant carries a heavy burden, as "reviewing courts must indulge a

strong presumption that counsel's conduct falls within the wide range of

professional assistance; that is, the [movant] must overcome the

presumption that, under the circumstances, the challenged action might

be considered sound trial strategy." Id. at 689. Indeed, the movant must

show that "no competent counsel would have taken the action that his

counsel did take." Ford v. Hall, 546 F.3d 1326, 1333 (11th Cir. 2008)

(quoting Chandler v. United States, 218 F.3d 1305, 1315 (11th Cir,2000)

(en bane)).

     Under the prejudice prong, the movant must establish that there


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was a reasonable probability that the results would have been different

but for counsel's deficient performance. Kimmelman v. Morrison, 477

U.S. 365 7 375, (1986); Strickland, 466 U.S. at 696. "A reasonable

probability is a probability sufficient to undermine confidence in the

outcome." Strickland, 466 U.S, at 694; see also Lightbourne v, Dugger,

829 F.2d 1012 7 1022 (11th Cir. 1987); Boykins v. Wainwright, 737 F.2d

1539, 1542 (11th Cir. 1983); Willis v. United States, 2009 WL 1765771 at

* 2 (S.D. Ga. June 22, 2009).

     Additionally, the Supreme Court has held that the same Strickland

test applies to claims of ineffective assistance of counsel on direct appeal.

Murray v. Carrier, 477 U.S. 478, 488 (1986); Smith v. Murray, 477 U.S.

527, 535-36 (1986). In Jones v. Barnes, 463 U.S. 745 (1983), however,

the Court held that the Sixth Amendment does not require appellate

advocates to raise every non-frivolous issue. Effective appellate counsel

should "'winnow out' weaker arguments even though the weaker

arguments may be meritorious." Heath v. Jones, 941 F.2d 1126, 1130-31

(11th Cir. 1991) (quoting and citing Jones v. Barnes, 463 U.S. at 751-52).

      Here, Jamison was represented at trial by Zena McClain. (Cr. doc.


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772.) After sentencing, she was replaced by Steven Brill. (Cr. doe. 804.)

On appeal, Jamison's conviction was affirmed but his sentence was

vacated and remanded since he was held accountable at sentencing for

the amount of drugs attributable to the entire conspiracy rather than the

amount reasonably foreseeable to him alone. United States v, Bacon, 598

F.3d 772 7 777-78 (11th Cir. 2010). The district judge assigned to the case

resentenced Jamison, lowering his sentence from 120 to 78 months'

imprisonment. (Cr. doe. 1061 (amended judgment); cr. doe. 716 (original

judgment).) He did not appeal the new judgment but now attacks Brill's

performance on two grounds, first for failing to object at re-sentencing to

the sentencing judge's imposition of a longer than allowed supervised

release period, and second for failing to further litigate his conviction

before the court of appeals and United States Supreme Court. (Doc. 2 at

1-2.)

        Jamison asserts that since his sentence was under 12 years, it was

only a Class C felony and therefore subject to a maximum 3-year term of

supervised release under 18 U.S.C. § 3583(b)(3). (Doc. 2 at 1.) Jamison,

however, received five years' supervised release. (Cr. doe. 1061.)


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Accordingly, he reasons, Brill was ineffective at re-sentencing for failing

to raise the issue, (Doe. 2 at 1.) His argument is flawed in many

respects, however.

      While the Court of Appeals plainly held that Jamison was not

subject to the 18 U.S.C. § 841(b)(1)(A) 2 mandatory minimum 10-year

imprisonment penalty based upon his participation in a conspiracy

involving more than 5 kilograms of cocaine, Bacon, 598 F.3d at 777-78,

Jamison admitted that 765 grams of cocaine was foreseeably attributable

to him. (Cr. doe. 1059). Hence, Jamison was sentenced under 18 U.S.C.

§ 841(b)(1)(B), which applies to offenses involving more than 500 grams

of cocaine and carries a minimum of five years' imprisonment and a

maximum of forty. Hence, Jamison was not convicted of a Class C felony,

which carries a maximum of only twelve years' imprisonment. 18 U.S.C.

§ 3581. Moreover, the government correctly asserts that 18 U.S.C. §

3583 does not control here, regardless of the felony class. (Doc. 4 at 7.)

Section 3583(b) applies "[e]xce p t as otherwise provided." Here,

Jamison's range was set by the statute under which be was convicted
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        Under 21 U.S.C. § 846, conspirators are "subject to the same penalties as
those prescribed for the offense, the commission of which was the object of the .
conspiracy." Id.
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(the "where-otherwise-provided" statute here), which carries a minimum

of four years' supervised release. 21 U.S.C. § 841(b)(1)(B); see also 21

U.S.C. § 841(b)(1)(C) (when convicted of possession with intent to

distribute any quantity of cocaine, the minimum supervised release term

is 3 years). In fact, the statutory maximum supervised release term for

any person convicted of possession with intent to distribute cocaine is

life, since there is no prescribed statutory maximum. United States v.

King, 272 F.3d 366, 376 (6th Cir. 2001); United States v. Gibbs, 58 F.3d

36, 37-38 (2d Cir. 1995). Consequently, Jamison could have been

sentenced to any length of supervised release, so Brill was not ineffective

for failing to raise the issue before the sentencing judge.

      Next, Jamison contends that Brill should have sought en bane

review of the appellate court's affirmance of his conviction and then

should have sought a writ of certiorari from the United States Supreme

Court. (Doc. 2 at 2.) Defendants, however, have no constitutional right

to have counsel pursue discretionary appellate relief, including petitions

for en bane review and certiorari. Wainwright v. Torna, 455 U.S. 586,

587-88 (1982); Ross v. Moffitt, 417 U.S. 600, 616-17 (1974). Since


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defendants do not have a constitutional right to counsel on discretionary

appeals, Pennsylvania v. Finley, 481 U.S. 551, 555 (1987), counsel's

performance cannot be constitutionally deficient for a failure to pursue

such relief. See, e.g., Wainwright, 455 U.S. at 587-88; United States v.

Fernandez, 397 F. App'x 433, 436-37 (10th Cir. 2010) (rejecting § 2255

claim of ineffective assistance of counsel based on failure to petition

Supreme Court for writ of certiorari); Wyatt v. United States, 574 F.3d

455, 459 (7th Cir. 2009) (same); see also Mills v. United States, 2007 WL

4458304 at *4 (E.D.N.C. Dec. 14, 2007) (holding no constitutional right

was implicated where appellate counsel failed to notify petitioner of the

appellate court's decision until after the time for filing a petition for

rehearing had expired).

     Jamison's ineffectiveness claims are meritless. Accordingly, his §

2255 motion (doe. 1) should be DENIED. Applying the Certificate of

Appealability ("COA") standards, which are set forth in Brown v. United

States, 2009 WL 307872 at * 1-2 (S.D. Ga. Feb. 9, 2009) (unpublished),

the Court discerns no COA-worthy issues at this stage of the litigation,

so no COA should issue. 28 U.S.C. § 2253(c)(1); see Alexander v.


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Johnson, 211 F.3d 895, 898 (5th Cir. 2000) (approving sua sponte denial

of COA before movant filed a notice of appeal). And, as there are no non-

frivolous issues to raise on appeal, an appeal would not be taken in good

faith. Thus, in forma pauperis status on appeal should likewise be

DENIED. 28 U.S.C. § 1915(a)(3).

     SO REPORTED AND RECOMMENDED this 22nd day of

March, 2011.


                                    '^^ 90^^N^                 JUDGE
                                     SOtITHERN DISTRICT of GEORGIA




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